                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                Plaintiff,
  v.
                                                                 No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;

                Defendants.


                                  MOTION IN LIMINE NO. 4

         Comes the Defendant Bill Johnson, and respectfully moves the court in limine to

  preclude Plaintiff from introducing any proof, putting forth any facts or evidence, or

  arguing in any way that Plaintiff’s alleged medical/mental condition. This is clearly within

  the realm of expert opinion and the appropriate disclosures pursuant to Fed. Rule Civ.

  Pro. 26 have not been made to evaluate any such assertion. In support of this Motion,

  this Defendant submits a Memorandum of Law.

         RESPECTFULLY SUBMITTED this 15th day of November, 2021.

                                                   s/ Arthur F. Knight, III
                                                   Arthur F. Knight, III, BPR #016178
                                                   TAYLOR & KNIGHT, P.C.
                                                   800 South Gay Street, Suite 600
                                                   Knoxville, TN 37929
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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